        Case 5:22-cv-04008-JWB-TJJ Document 420-1 Filed 02/02/23 Page 1 of 1
Appellate Case: 23-3005       Document: 010110807025            Date Filed: 02/01/2023    Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                       February 01, 2023


  Michael E. Nelson
  9450 SW Gemini Drive
  PMB 90924
  Beaverton, OR 97008-7105

  RE:       23-3005, United Capital Management of Kansas, et al v. Nelson
            Dist/Ag docket: 5:22-CV-04008-JWB-TJJ

 Dear Appellant:

 Enclosed please find an order issued today by the court.

 Please contact this office if you have questions.

                                               Sincerely,



                                               Christopher M. Wolpert
                                               Clerk of Court



  cc:       Craig A. Brand
            Chris J. Kellogg
            Lawrence G. Michel

  CMW/djd
